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              Cut Points Used for PATTERN v. 1.3
       (used when calculating an inmates risk of recidivism)

Male - General
     Minimum = 5 or less
     Low = 6 to 39
     Medium = 40 to 54
     High = 55 or more

Male - Violent
     Minimum = 7 or less
     Low = 8 to 24
     Medium = 25 to 31
     High = 32 or more

Female - General
    Minimum = 7 or less
    Low = 8 to 38
    Medium = 39 to 52
    High = 53 or more

Female - Violent
    Minimum = 1 or less
    Low = 2 to 11
    Medium = 12 to 17
    High = 18 or more
